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                       IN THE UNITED STATES DISTRICT COURT
                           OR THE DISTRICT OF COLUMBIA

ROBERT P. STORCH; MICHAEL J. MISSAL;
CHRISTI A. GRIMM; CARDELL K.
RICHARDSON, SR.; SANDRA D. BRUCE;
PHYLLIS K. FONG; LARRY D. TURNER;
HANNIBAL “MIKE” WARE;

                              Plaintiffs,
                 v.
PETE HEGSETH, in his official capacity as
Secretary of Defense; DOUGLAS A.
COLLINS, in his official capacity as Secretary
of Veterans Affairs; ROBERT F. KENNEDY,
JR., in his official capacity as acting Secretary        Civil Case No. 1:25-cv-00415-ACR
of Health and Human Services; MARCO
                                                         JOINT NOTICE REGARDING
RUBIO, in his official capacity as Secretary of
                                                         VIRTUAL HEARING
State; DENISE L. CARTER, in her official
capacity as Acting Secretary of Education;
GARY WASHINGTON, in his official capacity
as Acting Secretary of Agriculture; VINCENT
MICONE, in his official capacity as Acting
Secretary of Labor; EVERETT M. WOODEL,
JR., in his official capacity as Acting
Administrator of the Small Business
Administration; DONALD J. TRUMP, in his
official capacity as President of the United
States;
                                 Defendants.


       Pursuant to the Court’s minute order dated February 14, 2025, the parties have conferred

and are available at 4:30 PM ET today for a joint virtual hearing.

                                             Respectfully submitted,


 /s/ Jeremy Samuel Bloch Newman                          /s/ Seth P. Waxman
 Jeremy Samuel Bloch Newman                              Seth P. Waxman

 Counsel for Defendants                                  Counsel for Plaintiffs
